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                                                                                                                   Facsimile:      (949) 260-0972
                                                                                                               5
                                                                                                                   Attorneys for Chapter 7 Trustee
                                                                                                               6   RICHARD A. MARSHACK

                                                                                                               7

                                                                                                               8                                     UNITED STATES BANKRUPTCY COURT
                                                                                                               9                            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA
                                                                                                              10

                                                                                                              11   In re                                                Case No. 8:17-bk-13077-TA
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                                                                                                              12   HOAG URGENT CARE TUSTIN, INC., et                    Chapter 7
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                   al.
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                                                                                                              13                                                        MOTION FOR ORDER:
                                                                                                                    Affects All Debtors                                (1) AUTHORIZING DISMISSAL OF
                                                                                                              14    Hoag Urgent Care - Anaheim Hills., Inc., a         THE BANKRUPTCY CASE
                                                                                                                   California corporation                               PURSUANT TO 11 U.S.C. §§ 305 AND
                                                                                                              15    Hoag Urgent Care - Huntington Harbor,              707; (2) DISCHARGING AND
                                                                                                                   Inc., a California corporation                       RELIEVING THE TRUSTEE’S
                                                                                                              16    Hoag Urgent Care - Tustin, Inc., a California      EMPLOYED PROFESSIONALS FROM
                                                                                                                   corporation,                                         FURTHER DUTIES AND
                                                                                                              17                                                        OBLIGATIONS; (3) APPROVAL OF
                                                                                                                                            Debtor                      PROFESSIONAL FEES AND
                                                                                                              18                                                        EXPENSES; AND (4) EXONERATING
                                                                                                                                                                        THE TRUSTEE’S BOND
                                                                                                              19
                                                                                                                                                                        Date:     November 30, 2021
                                                                                                              20                                                        Time:     11:00 a.m.
                                                                                                                                                                        Courtroom: 5B
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                                                                                                               1   TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES BANKRUPTCY

                                                                                                               2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE AND PARTIES IN

                                                                                                               3   INTEREST:

                                                                                                               4            Richard A. Marshack, Chapter 7 Trustee (the “Trustee”) for the Bankruptcy estates (the

                                                                                                               5   “Estates”) of Hoag Urgent Care-Tustin, Inc., Hoag Urgent Care-Anaheim Hills, Inc., and Hoag

                                                                                                               6   Urgent Care-Huntington Harbour, Inc. (collectively, “Debtors”) hereby file this Motion for Order:

                                                                                                               7   (1) Authorizing Dismissal of the Bankruptcy Case Pursuant to 11 U.S.C. Sections 305 and 707;

                                                                                                               8   (2) Discharging and Relieving the Trustee and the Trustee’s Employed Professionals from

                                                                                                               9   Further Duties and Obligations; (3) Approval of Professional Fees and Expenses; and (4)

                                                                                                              10   Exonerating the Trustee’s Bond (the “Motion”). In support of the Motion, the Trustee submits

                                                                                                              11   the following Memorandum of Points and Authorities and the Declaration of Richard A.
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                                                                                                              12   Marshack (the “Marshack Declaration”).
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13

                                                                                                              14                                            INTRODUCTION

                                                                                                              15            The Trustee, by way of this Motion, seeks dismissal of these cases, as there is no further

                                                                                                              16   relief or benefit that the bankruptcy system can provide to the Estates or creditors. Currently, the

                                                                                                              17   Trustee is holding approximately $133,895.91 in funds, which were recovered solely through the

                                                                                                              18   work and efforts of his general bankruptcy counsel, Best Best & Krieger LLP (“BBK”), as set

                                                                                                              19   forth below. Unfortunately, despite diligent investigation and efforts, the adversary proceedings

                                                                                                              20   that were filed by the Debtors during the Chapter 11 phase of this case did not end up bringing

                                                                                                              21   any value to the Estates, and were ultimately abandoned by the Trustee. The Trustee has

                                                                                                              22   informed both the Office of the United States Trustee (“UST”) and the Debtors’ principal’s

                                                                                                              23   counsel regarding the proposed dismissal of these cases, and no party has indicated that it would

                                                                                                              24   oppose dismissal. Thus, the Trustee believes in his business judgment that dismissal of these

                                                                                                              25   cases is the most efficient and beneficial conclusion to these cases.

                                                                                                              26   ///

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                                                                                                               2                                        STATEMENT OF FACTS

                                                                                                               3   A.       Background

                                                                                                               4            Debtors filed their voluntary petitions under Chapter 11 of Title 11 of the United States

                                                                                                               5   Code on August 2, 2017. The cases were converted to Chapter 7 on July 29, 2018. Richard A.

                                                                                                               6   Marshack was appointed the Chapter 7 Trustee of the Debtors’ Estates.

                                                                                                               7   B.       Investigation of Assets and Liabilities

                                                                                                               8            At the time that the Court converted these cases to Chapter 7, the Debtors had been in

                                                                                                               9   Chapter 11 for nearly a year. Thus, the Trustee and BBK had to quickly familiarize themselves

                                                                                                              10   with all of the pending litigation, potential assets of the Estates, and handle all of the

                                                                                                              11   administrative tasks associated with the conversion of three large Chapter 11 cases. Almost
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                                                                                                              12   immediately after conversion to Chapter 7, the Trustee and BBK met with various counsel
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                                                                                                              13   involved in the Chapter 11 case. Based upon their feedback and opinions, the Trustee was led to

                                                                                                              14   believe that there was substantial potential value in the Estates’ adversary proceedings against

                                                                                                              15   Hoag Memorial Hospital Presbyterian et al. (“Hoag Memorial”), as well as arguments

                                                                                                              16   invalidating the lien held by the Small Business Development Corporation of Orange County

                                                                                                              17   (“SBDC-OC”).

                                                                                                              18            1.        The Adversary Proceedings
                                                                                                              19            At the time the Trustee was appointed, there were two pending adversary proceedings,

                                                                                                              20   which were filed by the Debtors prior to the conversion of the cases (collectively, the “Adversary

                                                                                                              21   Proceedings”):

                                                                                                              22            1.        Hoag Urgent Care – Anaheim Hills, et al. v. Newport Healthcare Center, LLC, et

                                                                                                              23            al.; Adversary Proceeding No. 8:17-01230-TA (the “Joint Venture Action”); and

                                                                                                              24            2.        Hoag Urgent Care – Anaheim Hills, Inc. et al v. Hoag Memorial Hospital

                                                                                                              25            Presbyterian et al; Adversary Proceeding No. 8:17-01241-TA, including counterclaims by

                                                                                                              26            the Defendants, such as conversion (the “Fraudulent Conveyance Action”).

                                                                                                              27            The Trustee and his counsel immediately contacted and met with the Debtors’ counsel,

                                                                                                              28   Foley & Lardner, and former counsel, Baker Hostetler, as well as Polsinelli, the attorneys for
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                                                                                                               1   Hoag Memorial, to discuss the status of the Adversary Proceedings and potential paths forward

                                                                                                               2   with the Trustee now in place. BBK and the Trustee further met with Weiland Golden Goodrich,

                                                                                                               3   counsel for Dr. Robert Amster, a co-plaintiff in the Adversary Proceedings. The Trustee and his

                                                                                                               4   counsel evaluated the Trustee’s options with respect to the Adversary Proceedings. Based on the

                                                                                                               5   representations of various parties and counsel that the Adversary Proceedings were valuable

                                                                                                               6   assets of the Estates, the Trustee retained Baker Hostetler as his special litigation counsel to

                                                                                                               7   prosecute the Joint Venture Action.

                                                                                                               8            The Trustee, with the assistance of BBK and Baker Hostetler, diligently prosecuted the

                                                                                                               9   Joint Venture Action. The Trustee responded to and propounded discovery, and was deposed by

                                                                                                              10   Hoag Memorial. The Trustee engaged in protracted settlement negotiations with Hoag Memorial,

                                                                                                              11   but such settlement efforts failed. Ultimately, the Court granted summary judgment in favor of
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                                                                                                              12   Hoag Memorial. With these Estates quickly becoming administrative insolvent, the Trustee
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                                                                                                              13   decided not to appeal the judgment.

                                                                                                              14            Additionally, the Trustee negotiated a low-cost and efficient resolution of the Fraudulent

                                                                                                              15   Conveyance Action. Prior to the conversion of the Debtors’ cases, this Court had entered

                                                                                                              16   summary judgment in favor of the Defendants in the Fraudulent Conveyance Action. Debtors

                                                                                                              17   filed a timely appeal of the Court’s summary judgment ruling. The Trustee ultimately decided to

                                                                                                              18   abandon said appeal. The Trustee negotiated the dismissal of Hoag Memorial’s counterclaims

                                                                                                              19   against the Estates for conversion without any payment to Hoag Memorial by the Estates.

                                                                                                              20            2.        The State Court Action with the SBDC-OC
                                                                                                              21            In addition, Debtors were defendants in an action pending in California Superior Court,

                                                                                                              22   County of Orange, styled as Small Business Development Corporation of Orange County v. Hoag

                                                                                                              23   Urgent Care-Tustin, Inc., et al. (the “State Court Action”). In the State Court Action, the SBDC-

                                                                                                              24   OC alleged that it held a valid blanket lien over all of the Debtors’ personal property, including

                                                                                                              25   cash. At the time the Trustee was appointed, the SBDC-OC had filed an Application for (1)

                                                                                                              26   Turnover of Personal Property Collateral Pursuant to Receivership Order; and (2) for Issuance

                                                                                                              27   of Order to Show Cause Re: Contempt for Failure to Comply With Receivership Order

                                                                                                              28   (“Turnover Application”). The amount of the SBDC-OC’s alleged lien was well in excess of the
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                                                                                                               1   cash on hand in the Estates at the time of conversion.

                                                                                                               2            This Court had granted the SBDC-OC relief from the automatic stay with respect to

                                                                                                               3   proceeding with its remedies in the State Court Action. Debtors had alleged in documents filed

                                                                                                               4   with this Court as well as the State Court that the SBDC-OC’s lien did not extend to all of the

                                                                                                               5   cash in the Estates based on the theories that (1) the SBDC-OC’s assignor failed to maintain a

                                                                                                               6   “double lock-box” system and thus, the SBDC-OC did not have a lien on any accounts

                                                                                                               7   receivable; (2) SBDC-OC did not have a lien on any post-petition revenue pursuant to section

                                                                                                               8   552(a); and (3) the assignor did not assign the SBDC-OC its replacement liens granted in the

                                                                                                               9   bankruptcy cases.

                                                                                                              10            Based on these potential arguments, the SBDC-OC engaged in good faith settlement

                                                                                                              11   discussions with the Trustee. Ultimately, the SBDC-OC agreed to permit the Trustee to retain for
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                                                                                                              12   the Estates cash in the amount of $115,000.00, plus 30% of sale proceeds of certain equipment to
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                                                                                                              13   be purchased by Hoag Memorial (eventually, $16,500).

                                                                                                              14            3.        Preference Actions
                                                                                                              15            BBK reviewed and analyzed potentially avoidable transfers based on the Debtors’

                                                                                                              16   Statement of Financial Affairs. Through lower-cost professionals, BBK sent demand letters to

                                                                                                              17   the recipients of potentially preferential transfers, filed complaints against six different transferees

                                                                                                              18   (the “Transferees”), and prosecuted the preference actions. Eventually, after due evaluation of

                                                                                                              19   the various Transferees’ defenses, the Trustee settled or dismissed each preference action,

                                                                                                              20   resulting in a total recovery of $11,000.00. BBK prepared and filed an omnibus motion to

                                                                                                              21   approve compromise to conserve Estate funds.

                                                                                                              22            Based on the foregoing, the only cash in the Estates, consisting of the $131,500 retained

                                                                                                              23   pursuant to the settlement with the SBDC-OC and the $11,000 paid by Transferees pursuant to

                                                                                                              24   settlements, were the result of BBK’s efforts. The Adversary Proceedings, which were expected

                                                                                                              25   to bring in significant monies into the Estate did not end up bearing fruit for the Estates.

                                                                                                              26            4.        Chapter 7 Administrative Claims
                                                                                                              27            On April 15, 2021, BBK filed its First and Final Application for Allowance of Fees and

                                                                                                              28   Reimbursement of Costs (“BBK Application”), requesting the allowance of fees in the amount of
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                                                                                                               1   $163,522.50 and reimbursement of costs in the amount of $4,154.56 on a final basis. The

                                                                                                               2   Trustee’s Special Litigation Counsel, Baker Hostetler, declined to file a fee application. On

                                                                                                               3   May 3, 2021, the Trustee’s accountant, Hahn Fife & Company (“Hahn Fife”), filed its First &

                                                                                                               4   Final Fee Application, requesting allowance of fees in the amount of $5,560.00 and

                                                                                                               5   reimbursement of expenses in the amount of $514.48 (the “Hahn Fife Application”).

                                                                                                               6            The Office of the U.S. Trustee is owed the following quarterly fees: HUC Tustin

                                                                                                               7   $1,300.13 (claim 28); HUC Huntington $2,275.13 (claim 15); and HUC Anaheim $2,275.13

                                                                                                               8   (claim 14).

                                                                                                               9            The Franchise Tax Board’s administrative claims were filed as follows: HUC Tustin

                                                                                                              10   $4,281.21 (claim 29); HUC Huntington $4,280.99 (claim 18); and HUC Anaheim $4,281.21

                                                                                                              11   (claim 16).
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                                                                                                              12            Trustee and his staff have incurred $44,869.40 in fees and costs in connection with the
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                                                                                                              13   administration of this case and the prosecution of the Adversary Proceedings, and will incur

                                                                                                              14   additional time in effectuating this Motion and dismissing the case. (Marshack Decl., ¶ 9.) The

                                                                                                              15   Court has authority to issue an order allowing payment to Trustee and his counsel for the fees and

                                                                                                              16   costs incurred which were necessary and reasonable to administer this estate.

                                                                                                              17            Under the existing case law, when a case is to be dismissed, Trustee’s compensation is

                                                                                                              18   what is reasonable and not limited by the percentage set forth in 11 U.S.C. §326. See In re Flying

                                                                                                              19   S Land & Cattle Company, Inc., 23 B.R. 56 (Bankr. C.D. Cal. 1982); In re Jackson, 7 15 B.R.

                                                                                                              20   616, 618 (Bankr. E.D. Tenn. 1980); and In re Wolfe, 12 B.R. 686, 687 (Bankr. S.D. Ohio 1981).

                                                                                                              21   See also Collier Handbook for Trustee and Debtors In Possession § 9.06 which states that when a

                                                                                                              22   chapter 7 case is dismissed “Section 326 of the Code will be inapplicable. In these situations, the

                                                                                                              23   court will typically apply equitable principals and require the administrative claim of any non-

                                                                                                              24   standing trustee to be satisfied by the debtor on a quantum meruit basis before an order will be

                                                                                                              25   entered dismissing the case.”

                                                                                                              26            Bankruptcy Code Section 105(a) states that “[t]he [bankruptcy] court may issue any order,

                                                                                                              27   process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

                                                                                                              28   Bankruptcy Code Section 105 sets out the power of the bankruptcy court to fashion orders as
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                                                                                                               1   necessary pursuant to the purposes of the Bankruptcy Code. In re Chinichian, 784 F.2d 1440 (9th

                                                                                                               2   Ch. 1986). See, Frasch v. Wilson, 413 F.2d 69, 72 (9th Cir. 1969). See also, In re Lionel Corp,

                                                                                                               3   722 F.2d 1063, 1069 (2d Cir. 1983) (bankruptcy judge must have substantial freedom to tailor his

                                                                                                               4   orders to meet differing circumstances). A bankruptcy court is a court of equity. As a court of

                                                                                                               5   equity, it may look to the substance of a transaction and devise new remedies where those at law

                                                                                                               6   are inadequate. Chinichian at 1443.

                                                                                                               7

                                                                                                               8                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                                               9   A.       Applicable Law

                                                                                                              10            A Chapter 7 bankruptcy case may be dismissed after notice and a hearing, and only for

                                                                                                              11   cause. 11 U.S.C. § 707(a). Although Section 707 enumerates several grounds for cause, the list
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                                                                                                              12   is illustrative and not exhaustive. See In re Padilla, 222 F.3d 1184, 1191 (9th Cir. 2000). Courts
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                                                                                                              13   consider the following factors when making a determination with respect to “cause”: (1) whether

                                                                                                              14   creditors have consented-, (2) whether the Debtor is acting in good faith when seeking dismissal;

                                                                                                              15   and (3) whether an objection to discharge, exemptions, or a preference claim is pending. In re

                                                                                                              16   Thomspon, LEXIS 573 (Bankr. E.D. Cal. 2008). However, “[i]n its simplest terms, the test turns

                                                                                                              17   on whether or not dismissal is in the best interests of the debtor and the creditors of the estate,

                                                                                                              18   with particular emphasis on whether the dismissal would be prejudicial to creditors.” Id. citing to

                                                                                                              19   In re Aupperle, 352 B.R. 43, 46 (Bankr. D.N.J. 2005). There is a presumption of good faith when

                                                                                                              20   creditors or a trustee not oppose a motion for dismissal. See Aupperle, 352 B.R. at 43.

                                                                                                              21            Section 305 of the Code provides, in pertinent part:

                                                                                                              22            (a)       The court, after notice and a hearing, may dismiss a case under this title, or may

                                                                                                              23   suspend all proceedings in a case under this title, at any time if—

                                                                                                              24                      (1)    the interests of creditors and the debtor would be better served by such

                                                                                                              25                             dismissal or suspension….

                                                                                                              26   B.       Cause Exists to Dismiss this Case

                                                                                                              27            In this case, the Trustee had to quickly investigate the assets and liabilities of the Estates.

                                                                                                              28   Based on the analysis and recommendations of the Debtors’ professionals and other counsel who
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                                                                                                               1   had been involved in the Chapter 11 phase of the case for more than a year, the Trustee believed

                                                                                                               2   that there was significant value in the Adversary Proceedings and potential defenses against the

                                                                                                               3   SBDC-OC’s blanket lien on all assets. Unfortunately, the Trustee did not recover any value from

                                                                                                               4   the Adversary Proceedings.

                                                                                                               5            Here, Chapter 7 administrative claims exceed the cash in the Estates. The Trustee does

                                                                                                               6   not believe that there are any remaining assets of value to liquidate. Creditors will not be

                                                                                                               7   prejudiced by dismissal. In fact, if dismissal is granted, creditors will have the opportunity to

                                                                                                               8   bring claims against the Debtors as they see fit. Moreover, notice of the Motion will be served on

                                                                                                               9   all creditors of the Estates. The Trustee has advised the UST and the Debtors’ principal’s counsel

                                                                                                              10   of this Motion, and does not believe that any party will oppose dismissal. There will be nothing

                                                                                                              11   further for the Trustee to administer and no further relief or benefit that the bankruptcy system
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                                                                                                              12   can provide to creditors. Dismissal of these cases is in the best interest of the Estates and
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                                                                                                              13   creditors and the Motion should be granted.

                                                                                                              14

                                                                                                              15                                               CONCLUSION

                                                                                                              16            For the reasons set forth in the Motion, the Trustee respectfully requests that the Court

                                                                                                              17   enter an order:

                                                                                                              18            1.        Granting the Motion;

                                                                                                              19            2.        Authorizing the dismissal of the Debtors’ cases pursuant to 11 U.S.C. §§ 305 and

                                                                                                              20   707;

                                                                                                              21            3.        Approving the BBK Application, and allowing fees in the amount of $163,522.50

                                                                                                              22   and reimbursement of costs in the amount of $4,154.56 on a final basis;

                                                                                                              23            4.        Approving the Hahn Fife Application, and allowing fees in the amount of

                                                                                                              24   $5,560.00 and reimbursement of expenses in the amount of $514.48 on a final basis;

                                                                                                              25            5.        Approving payment to the Office of the U.S. Trustee in the amount of $5,850.39

                                                                                                              26   on a final basis;

                                                                                                              27            6.        Approving payment to the Franchise Tax Board in the amount of $12,843.41 on a

                                                                                                              28   final basis;
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                                                                                                               1            7.        Approving the Trustee’s Application and allowing fees in the amount of

                                                                                                               2   $44,077.00 and reimbursement of expenses in the amount of $792.40;

                                                                                                               3            8.        Authorizing Trustee to pay the approved fees and expenses from funds on hand in

                                                                                                               4   the estate;

                                                                                                               5            9.        Directing Trustee to file a declaration and lodge an order for dismissal of the case

                                                                                                               6   once all disbursements have been negotiated and the Estate account has a zero balance;

                                                                                                               7            10.       Discharging and relieving the Trustee and the Trustee’s employed professionals

                                                                                                               8   from further duties and obligations;

                                                                                                               9            11.       Exonerating the Trustee’s bond; and

                                                                                                              10            12.       Granting such other and further relief as the Court deems just and proper.

                                                                                                              11
                                                                                                                   Dated: October 25, 2021                                BEST BEST & KRIEGER LLP
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                                                                                                              13
                                                                                                                                                                          By:
                                                                                                              14                                                                CAROLINE R. DJANG
                                                                                                              15                                                                Attorneys for Chapter 7 Trustee
                                                                                                                                                                                RICHARD A. MARSHACK
                                                                                                              16

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                                                                                                               1                             DECLARATION OF RICHARD A. MARSHACK

                                                                                                               2            I, Richard A. Marshack, declare as follows:

                                                                                                               3            1.        I am the chapter 7 trustee for the bankruptcy estates (the “Estates”) of Hoag

                                                                                                               4   Urgent Care-Tustin, Inc., Hoag Urgent Care-Anaheim Hills, Inc., and Hoag Urgent Care-

                                                                                                               5   Huntington Harbour, Inc. (collectively, “Debtors”). I know each of the following facts to be true

                                                                                                               6   of my own personal knowledge, except as otherwise stated, and if called as a witness, I could and

                                                                                                               7   would competently testify with respect thereto. I make this declaration in support of the Motion

                                                                                                               8   for Order: (1) Authorizing Dismissal of the Bankruptcy Case Pursuant to 11 U.S.C. Sections 305

                                                                                                               9   and 707; (2) Discharging and Relieving the Trustee and the Trustee’s Employed Professionals

                                                                                                              10   from Further Duties and Obligations; and (3) Exonerating the Trustee’s Bond (the “Motion”).

                                                                                                              11   Any terms not specifically defined herein shall have the meanings set forth in the Motion.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            2.        Debtor’s filed their voluntary petitions under Chapter 11 of Title 11 of the United
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   States Code on August 2, 2017. The case was converted to one under Chapter 7 of Title 11 of the

                                                                                                              14   United States Code on July 29, 2018.

                                                                                                              15            3.        Currently, the Trustee is holding approximately $133,895.91 in funds, which were

                                                                                                              16   recovered solely through the work and efforts of his general bankruptcy counsel, Best Best &

                                                                                                              17   Krieger LLP (“BBK”).

                                                                                                              18            4.        Almost immediately after conversion to Chapter 7, the Trustee and BBK met with

                                                                                                              19   various counsel involved in the Chapter 11 case. Based upon their feedback and opinions, I was

                                                                                                              20   led to believe that there was substantial potential value in the Estates’ adversary proceedings

                                                                                                              21   against Hoag Memorial Hospital Presbyterian et al., (“Hoag Memorial”) as well as arguments

                                                                                                              22   invalidating the lien held by the Small Business Development Corporation of Orange County.

                                                                                                              23            5.        Unfortunately, despite due investigation, the adversary proceedings against Hoag

                                                                                                              24   Memorial that were filed by the Debtors during the Chapter 11 phase of this case did not end up

                                                                                                              25   bringing any value to the Estates. I ultimately abandoned them.

                                                                                                              26            6.        I have informed both the Office of the United States Trustee (“UST”) and the

                                                                                                              27   Debtors’ principal’s counsel regarding the proposed dismissal of these cases, and no party has

                                                                                                              28   indicated that it would oppose dismissal.
                                                                                                                   55565.00003\34238441.1
                                                                                                                                                                                                      8:17-BK-13077-TA
                                                                                                                                                                      - 10 -
                                                                                                                                                                                          TRUSTEE’S MOTION TO DISMISS
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                                                                                                               1            7.        Thus, in my business judgment, I believe that dismissal of these cases is the most

                                                                                                               2   efficient conclusion to these cases.

                                                                                                               3            8.        Chapter 7 administrative claims exceed the cash in the Estates.

                                                                                                               4            9.        My staff and I have incurred $44,869.40 in fees and costs in connection with the
                                                                                                               5   Debtor’s bankruptcy cases and the Adversary Proceedings. A copy of my firm’s billing statement

                                                                                                               6   is attached hereto as “Exhibit A”.

                                                                                                               7            10.       I do not believe that there are any remaining assets of value to liquidate. There

                                                                                                               8   will be nothing further for me to administer and no further relief or benefit that the bankruptcy

                                                                                                               9   system can provide to creditors.

                                                                                                              10            I declare under penalty of perjury that the foregoing is true and correct.

                                                                                                              11            Executed this _____ day of October, 2021 at _____________,
                                                                                                                                                                         Irvine        California.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




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                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13
                                                                                                                                                                         Richard A. Marshack
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                                                                                                                   55565.00003\34238441.1                                                             8:17-BK-13077-TA
                                                                                                                                                                      - 11 -           MOTION FOR ORDER AUTHORIZING
                                                                                                                                                                                                            DISMISSAL
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                            EXHIBIT A
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                                                                                      September 20, 2021


    Trustee - Richard Marshack                                        Invoice #      12437
                                                                      Client #        5000
                                                                      Matter #         418
__________________________________________________________________________________________

                                        INVOICE SUMMARY

    For Professional Services Rendered for the period ending: May 31, 2021

Re: Hoag Urgent Care Consolidated Cases


                Current Fees                                         $ 44,077.00
                Current Disbursements                                   $ 126.89

                TOTAL CURRENT CHARGES                                $ 44,203.89

                 Plus EXPENSES TO copy and mail Notices                      665.51
                 to all creditors

                 Total Expenses                                          $792.40

                 REVISED TOTAL                                           $44,869.40
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FEES


1 Asset Analysis and Recovery


   Date    Atty    Description                                                             Hours      Rate   Amount
 6/28/18   PK      (Hoag cases) Download dockets, petitions, schedules, motions for          .70    270.00      189.00
                   four cases; Download dockets for two other related cases; Run
                   conflicts check for RAM trustee; E-mail summary to D. Edward
                   Hays;
 6/28/18   DAW     Review docket and various pleadings for background information           2.30    410.00      943.00
                   (Marshack - Hoag);
 6/29/18   PK      (Hoag) Download additional documents;                                     .60    270.00      162.00
 6/29/18   PK      (Hoag) Telephone call with M. Hauser re: conversion, assets, A/R          .50    270.00      135.00
                   collection and two related cases that will not be converted;
 6/29/18   PK      (Hoag) Telephone call with Trustee;                                       .10    270.00       27.00
 6/29/18   PK      (Hoag) E-mail summary to Trustee; Review and revise notices of            .40    270.00      108.00
                   appointment to prepare for filing;
 6/29/18   DAW     Review e-mail correspondence from Pam Kraus re: summary of                .20    410.00       82.00
                   conversation with U.S. Trustee (Marshack - Hoag Urgent Care);
 7/02/18   DAW     Review and analyze multiple e-mail correspondence from Randye             .20    410.00       82.00
                   Soref and Trustee re: issues relating to Hoag's position in the cases
                   (Marshack - Hoag Urgent Care);
 7/02/18   DAW     Conference with Trustee and Randy Soref re: background information        .70    410.00      287.00
                   on the Hoag case (Marshack - Hoag Urgent Care);
 7/02/18   DAW     Conference with Trustee and Robert Marticello re: Hoag Urgent Care        .30    410.00      123.00
                   (Marshack - Hoag Urgent Care);
 7/02/18   DAW     Review and analyze multiple e-mail correspondence from Liz Green,         .40    410.00      164.00
                   Jimmy Parish counsel for Debtor re: the pending appeal on the
                   fraudulent transfer action (Marshack - Hoag Urgent Care);
 7/03/18   PK      Telephone call and e-mails with J. Parrish;                               .20    270.00       54.00
 7/06/18   DAW     Meeting with Caroline Djang and Cathy Ta re: retention;                   .50    410.00      205.00
 7/09/18   PK      Exchange e-mail with J. Amster;                                           .10    270.00       27.00
 7/09/18   PK      Telephone call and e-mail with C. Djang's firm; Telephone call with       .30    270.00       81.00
                   Trustee;
 7/09/18   PK      Conference call with Trustee; C. Djang and C. Ta; E-mail all case         .50    270.00      135.00
                   documents; Second telephone call with C. Djang;


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   Date    Atty   Description                                                             Hours      Rate    Amount
 7/09/18   PK     Telephone call with Jennifer Amster re: case status, bank accounts,      1.20    270.00      324.00
                  medical records, payroll/taxes, collections, agreement; Prepare
                  summary;
 7/09/18   DAW    Prepare for conference call with Caroline Djang and Cathy Ta re:         1.30    410.00      533.00
                  status of the case and potential assets (1.0); conference call with
                  Cathy and Caroline (.3);
 7/11/18   PK     E-mails and conference call with C. Djang and C. Ta;                      .60    270.00      162.00
 7/11/18   PK     Review and save documents from R. Soref;                                  .20    270.00       54.00
 7/18/18   DAW    Review and respond to multiple lengthy e-mail correspondence from         .40    410.00      164.00
                  Caroline Djang re: analysis of the collection of the AR;
 7/20/18   DAW    Review and analyze multiple e-mail correspondence from Cathy Ta           .20    410.00       82.00
                  and Caroline Djang re: hearing results today;
 7/23/18   PK     Exchange e-mail with C. Ta re: several topics; E-mail to C. Djang re:     .30    270.00       81.00
                  engagement letter;
 7/31/18   PK     Conference call with C. Djang and J. Amster re: bank accounts,           1.40    270.00      378.00
                  storage, electronic records, collections, turnover of funds on hand;
                  Prepare e-mail summary of call and to-do list;
 8/01/18   PK     Telephone call with Trustee; E-mail to C. Ta;                             .20    270.00       54.00
 8/02/18   PK     Telephone call with J. Amster re: Orange storage unit, Hoag               .60    270.00      162.00
                  possession of equipment in facilities, Opus UCC-1; E-mail summary
                  to C. Djang and J. Amster;
 8/07/18   PK     Exchange e-mail with J. Amster re: turnover of funds; E-mail to TCB       .20    270.00       54.00
                  re: incoming wires;
 8/07/18   PK     Review list of inventory of FFE;                                          .10    270.00       27.00
 8/14/18   DAW    Conference with Caroline Djang after 341(a) re: assets of the Estate;    1.00    410.00      410.00
 8/21/18   PK     Review opposition to motion to maintain bank accounts;                    .10    270.00       27.00
 8/30/18   DAW    Review and analyze lengthy e-mail correspondence from Caroline            .50    410.00      205.00
                  Djang re: counter offer by David Brody on the outstanding AR;
 9/18/18   PK     Telephone call with J. Amster re: closing F&M DIP accounts; E-mail        .20    270.00       54.00
                  to D. Brody and C. Djang re: payment to J. Amster;
 9/25/18   PK     Exchange e-mail with C. Djang re: funds received for turnover from        .20    270.00       54.00
                  F&M bank and claim bar dates;
10/29/18   DAW    Review and respond to multiple e-mail correspondence from Caroline        .30    410.00      123.00
                  Djang re: preservation of medical records with the Amsters;
                  Sub-Total Fees:                                                         17.00             $ 5,752.00



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10 Litigation


    Date   Atty   Description                                                           Hours      Rate   Amount
 6/27/18   DEH    Review and analyze schedules (.50); Telephone conference with           .80    630.00      504.00
                  Richard A. Marshack re: appointment (.30);
 7/02/18   DEH    Written correspondence with Liz Green re: appeal (.30); Telephone       .80    630.00      504.00
                  conference with Richard A. Marshack and opposing counsel re: same
                  (.50);
 7/03/18   DAW    Review and analyze litigation claims and issues relating to pending    7.40    410.00   3,034.00
                  appeal; multiple conference calls with Hoag, U.S. Trustee, and
                  Trustee;
 7/05/18   RAM    Meeting with Florida attorney at Baker Holstetler re: appeal and        .80    630.00      504.00
                  pending litigation;
 7/06/18   DAW    Analyze litigation issues;                                             2.50    410.00   1,025.00
 7/13/18   DAW    Conference with Brian Weiss re: possible fraudulent transfers;          .30    410.00      123.00
 7/17/18   DAW    Conference with Caroline Djang re: ongoing negotiations;                .30    410.00      123.00
 7/17/18   DAW    Review and respond to lengthy e-mail correspondence from Caroline       .30    410.00      123.00
                  Djang re: abandonment of the pending fraudulent transfer appeal;
 7/18/18   PK     Review and revise stipulation; Exchange e-mails with C. Djang;          .40    270.00      108.00
 7/19/18   PK     E-mail to C. Djang;                                                     .10    270.00       27.00
 7/19/18   DAW    Review and respond to e-mail correspondence from Caroline Djang         .20    410.00       82.00
                  re: ex parte hearing tomorrow in the state court;
 7/23/18   RAM    Multiple telephone conference re: joint venture litigation;             .80    630.00      504.00
 7/24/18   PK     Exchange e-mail with C. Ta re: revised motion;                          .10    270.00       27.00
 8/17/18   PK     Review motion to continue BAP hearing; Telephone conference with        .30    270.00       81.00
                  Trustee; Forward executed signature page;
 8/29/18   RAM    Telephone conference with Caroline Djang re: settlement;                .30    630.00      189.00
 9/06/18   DAW    Conference with Caroline Djang, Cathy Ta, and counsel for Baker re:    1.00    410.00      410.00
                  today's 12(b)(6) hearing on the joint venture and strategy moving
                  forward;
 9/13/18   RAM    Review and analyze settlement agreement, e-mail and declaration;        .40    630.00      252.00
 9/17/18   PK     Review and save state court notice;                                     .10    270.00       27.00
10/31/18   PK     Review and save state court documents;                                  .10    270.00       27.00


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   Date     Atty      Description                                                              Hours         Rate      Amount
 4/03/19    PK        Review Trustee's answers to interragotories; Instructions to staff;        .30       270.00         81.00
                      Forward executed declaration;
 4/04/19    RAM       Telephone conference with Caroline Djang and Tiffany re: settlement;       .30       650.00        195.00
 4/04/19    PK        Exchange e-mail with C. Djang re: settling adversary cases;                .10       270.00         27.00
11/25/19    PK        Review settlement documents and emails;                                    .20       270.00         54.00
 1/28/21    PK        Review emails and tax returns; Review analysis from C. Djang re:           .20       270.00           N/C
                      Radiant adversary;
                      Sub-Total Fees:                                                          18.10                  $ 8,031.00




11 Meetings of Creditors


    Date    Atty         Description                                                         Hours          Rate       Amount
  8/14/18   RAM          Prepare for and attend 341(a) meeting of creditors;                   .90         630.00        567.00
                         Sub-Total Fees:                                                       .90                     $ 567.00




2 Asset Disposition


   Date     Atty      Description                                                               Hours         Rate     Amount
 7/24/18    PK        Review motion to continue; Review motion to abandon; Meeting with              .40     270.00      108.00
                      Trustee; Forward executed declarations;
 9/26/18    RAM       Review motion for cash disbursement;                                           .20     630.00      126.00
10/03/18    PK        Exchange e-mail with C. Djang re: selling xray unit from Orange case;          .40     270.00      108.00
10/04/18    PK        Exchange e-mail with J. Amster and A. McDow re: sale of xray unit;             .20     270.00       54.00
10/05/18    PK        E-mails and telephone call re: sale of xray equipment;                         .20     270.00       54.00
10/08/18    PK        Revise notice of intent to sell assets;                                        .20     270.00       54.00
10/09/18    PK        Review e-mail with x-ray equipment information and revise Trustee's            .30     270.00       81.00
                      notice of intent to sell assets; Forward to C. Djang;
10/31/18    PK        Conference call with C. Djang, D. Brody and D. Stapleton re: turnover          .40     270.00      108.00
                      of funds to receiver; Telephone call with C. Djang;


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   Date    Atty   Description                                                              Hours       Rate   Amount
11/12/18   PK     Review custodian of records agreement; Exchange e-mail;                     .10    270.00      27.00
 1/22/19   PK     Review bank accounts for 3 cases and exchange e-mail with C. Djang          .20    270.00      54.00
                  re: turnover to receiver;
 3/07/19   PK     Exchange e-mail with C. Djang re: Orange assets;                            .10    270.00      27.00
12/05/19   PK     Exchange email with C. Djang re: settlement payments; Prepare and           .30    270.00      81.00
                  forward W9 forms for three debtors;
                  Sub-Total Fees:                                                            3.00             $ 882.00




3 Business Operations


   Date    Atty   Description                                                             Hours      Rate     Amount
 7/28/18   PK     Review order approving stipulation;                                       .10     270.00       27.00
 7/30/18   PK     Telephone call with C. Djang re: A/R collections, electronic records,     .30     270.00       81.00
                  DIP accounts, and storage unit;
 7/31/18   PK     Exchange e-mail with Y. Ho;                                               .10     270.00       27.00
 8/07/18   PK     Exchange e-mails with J. Amster, C. Djang, and staff re: collecting       .20     270.00       54.00
                  A/R;
 8/09/18   PK     Exchange e-mail with J. Amster and C. Djang re: lack of mail coming       .20     270.00       54.00
                  in;
 8/10/18   PK     Review debtors' mail; Prepare three responses;                            .70     270.00      189.00
 8/30/18   PK     Exchange e-mail with J. Amster and C. Djang re: invoices;                 .10     270.00       27.00
 9/21/18   PK     Review e-mails re: payment to J. Amster;                                  .10     270.00       27.00
 9/26/18   PK     Review e-mail exchange re: custodian of patient records;                  .10     270.00       27.00
 9/26/18   PK     Exchange e-mail re: cash disbursement motion; Forward motion to           .10     270.00       27.00
                  trustee;
 9/28/18   PK     Revise cash disbursement motion; Prepare proof of service;                .40     270.00      108.00
10/04/18   PK     Prepare deposits;                                                         .40     270.00      108.00
10/05/18   PK     Telephone call and email with D. Brody re: paying J. Amster fees; E-      .30     270.00       81.00
                  mail to C. Djang; Telephone call with C. Djang;
10/10/18   PK     Exchange e-mail with J. Amster re: paying agent fees;                     .10     270.00       27.00
10/11/18   PK     Review order granting compromise with SBDOC; E-mail to J. Amster;         .20     270.00       54.00


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   Date    Atty   Description                                                           Hours       Rate     Amount
10/11/18   PK     Telephone call with C. Djang re: paying collector fees, splitting        .40    270.00         108.00
                  proceeds and expenses between cases, sale of equipment for Orange
                  case, re-filing NDR in Orange case;
10/11/18   PK     Telephone call with J. Amster re: collector fees;                        .10    270.00          27.00
                  Sub-Total Fees:                                                         3.90              $ 1,053.00




4 Case Administration


   Date    Atty    Description                                                          Hours     Rate       Amount
 6/27/18   RAM     Multiple telephone conference re: Hoag cases from U.S. Trustee, D.    1.40    630.00          882.00
                   Edward Hays, and David A. Wood;
 6/28/18   DEH     [1015-HOAG] Telephone conference with Michael Hauser and               .60    630.00          378.00
                   Richard A. Marshack re: facts of case and upcoming hearings;
 6/29/18   RAM     Telephone conference with Michael Hauser and D. Edward Hays re:        .40    630.00          252.00
                   upcoming hearing;
 6/29/18   RAM     Review correspondence;                                                 .40    630.00          252.00
 6/29/18   DEH     [1015-Hoag] Telephone conference with Richard A. Marshack re           .30    630.00          189.00
                   facts of case;
 6/29/18   PK      (Hoag) Prepare requests for courtesy NEFs;                             .30    270.00           81.00
 6/29/18   PK      (Hoag cases) File notices of appointment;                              .20    270.00           54.00
 6/29/18   DAW     Review and analyze order converting the cases to a Chapter 7           .30    410.00          123.00
                   (Marshacll - Hoag Urgent Care);
 6/29/18   DAW     Review and analyze multiple e-mail correspondence from Pam             .20    410.00           82.00
                   Kraus and U.S. Trustee re: conversion order (Marshack - Hoag
                   Urgent Care);
 7/02/18   RAM     Multiple telephone conference with Robert Marticello, Liz Green,      1.50    630.00          945.00
                   and Ed Hays;
 7/03/18   RAM     Telephone conference with Randy Sorel and conference with David        .80    630.00          504.00
                   Wood;
 7/03/18   RAM     Telephone conference with Pam Kraus;                                   .30    630.00          189.00
 7/03/18   RAM     Meeting with Jeffrey Golden re: pending litigation and possible        .50    630.00          315.00
                   assets;




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   Date    Atty   Description                                                              Hours    Rate       Amount
 7/05/18   PK     Telephone call with K. Howard at UST re: consolidation; Download          2.50   270.00          675.00
                  mail matrixes for 4 cases; Create mail service databases and compare
                  creditor lists; Review dockets; Create spreadsheet with all creditors
                  (in four cases); Prepare summary;
 7/05/18   CM     [Hoag v. Newport Healthcare Adv. No. 8:17-ap-01241-TA] Meeting             .80   230.00          184.00 10
                  with David A. Wood re: extending deadline and appearing on behalf
                  of appellant (.10); Review case file (.20); Prepare draft stipulation
                  extending time to file designation of record, statement of issues, and
                  notice regarding transcript order (.30); Prepare draft order approving
                  stipulation (.20);
                                                                                                                            10
 7/05/18   CM     [Hoag v. Newport Healthcare Adv. No. 8:17-ap-01241-TA] Review              .60   230.00          138.00
                  and analyze e-mail from Randye Soref re: revised stipulation (.10);
                  Revise and finalize stipulation extending time to file designation of
                  record, statement of issues, and notice regarding transcript order
                  (.30); Revise and finalize order approving stipulation (.20);
 7/06/18   RAM    Meeting with C. Tai and Caroline Djang;                                    .50   630.00          315.00
 7/06/18   CM     [Hoag v Newport Healthcare 01241] - Prepare notice of lodgment of          .20   230.00           46.00 10
                  order approving stipulation extending time to file designation of
                  record, statement of issues and notice regarding transcript order;
 7/06/18   CM     [Hoag v Newport Healthcare 01241] - Review case file (.10); Revise         .30   230.00           69.00 10
                  and finalize notice of lodgment of order approving stipulation
                  extending time to file designation of record, statement of issues and
                  notice regarding transcript order (.20);
 7/09/18   RAM    Review and analyze multiple correspondence;                                .30   630.00          189.00
 7/10/18   RAM    Multiple telephone conference with Best Best & Krieger and Jeffrey         .80   630.00          504.00 10
                  Golden re: staffing litigation;
 7/11/18   RAM    Meeting with Best Best & Krieger and Jeff Golden re: litigation;           .70   630.00          441.00 10
 7/13/18   RAM    Review and respond to multiple correspondence re: open issues;             .30   630.00          189.00
 7/13/18   RAM    Telephone conference with counsel;                                         .20   630.00          126.00
 7/17/18   RAM    Telephone conference with counsel;                                         .30   630.00          189.00
 7/19/18   RAM    Telephone conference with Caroline Djang re: status;                       .30   630.00          189.00
 7/19/18   PK     Review and analysis of motions to procedurally consolidate cases;          .30   270.00           81.00
                  Telephone call with Trustee; Forward executed declarations;
 7/20/18   RAM    Telephone conference with Colleen Ta re: joint venture litigation;         .40   630.00          252.00 10
 7/20/18   PK     Review ex parte motions for joint administration;                          .20   270.00           54.00
 7/23/18   RAM    Review and analyze documents re: collections;                              .20   630.00          126.00



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Client-Matter# 5000-418                                                                             Invoice # 12437

   Date    Atty   Description                                                            Hours    Rate       Amount
 7/27/18   RAM    Multiple telephone conference and correspondence from Best Best &        .40   630.00          252.00
                  Krieger;
 7/29/18   PK     Review order granting joint administration;                              .10   270.00           27.00
 7/30/18   PK     Review order and e-mail to C. Djang;                                     .10   270.00           27.00
 8/01/18   RAM    Prepare for meeting with Colleen Ta and Carolyn Djang;                  2.00   630.00      1,260.00
 8/02/18   PK     Download, profile, save and forward 16 tax returns for 2013-2016;       1.20   270.00          324.00
 8/02/18   PK     Exchange e-mail with J. Amster and C. Djang re: appearance at            .20   270.00           54.00 11
                  341a;
 8/07/18   PK     Add assets for turnover of bank accounts and incoming A/R                .40   270.00          108.00
                  deposits;
 8/08/18   PK     Exchange e-mail and telephone calls re: 700+ checks received for        1.00   270.00          270.00
                  deposit;
 8/08/18   PK     Input 60 deposits for HUCA;                                              .80   270.00          216.00
 8/08/18   PK     Input 54 deposits for HUCA;                                              .60   270.00          162.00
 8/08/18   PK     Input 60 deposits for HUCA;                                              .60   270.00          162.00
 8/08/18   PK     Input 65 deposits for HUCA;                                              .70   270.00          189.00
 8/08/18   PK     Input 63 deposits for HUCH;                                              .70   270.00          189.00
 8/08/18   PK     Input 60 deposits for HUCH;                                              .60   270.00          162.00
 8/08/18   PL     admin - process 774 checks for deposit. coordinate with bank.           4.80   175.00          840.00
                  organize, separate into smaller groups and supervise scanning. print
                  check copies, print deposit slips, match and verify. prepare for
                  FedEx (Laurie)
 8/08/18   PL     admin - process 774 checks for deposit. coordinate with bank.           3.50   175.00          612.50
                  organize, separate into smaller groups and supervise scanning. print
                  check copies, print deposit slips, match and verify. prepare for
                  FedEx (Awf)
 8/09/18   PK     Telephone call re: deposits;                                             .20   270.00           54.00
 8/09/18   PK     Prepare 60 deposits for HUCH;                                            .60   270.00          162.00
 8/09/18   PK     Prepare 79 deposits for HUCH;                                            .80   270.00          216.00
 8/09/18   PK     Prepare 60 deposits for HUCT;                                            .60   270.00          162.00
 8/09/18   PK     Prepare 60 deposits for HUCT;                                            .50   270.00          135.00
 8/09/18   PK     Prepare 60 deposits for HUCT;                                            .50   270.00          135.00
 8/09/18   PK     Prepare 60 deposits for HUCT;                                            .50   270.00          135.00



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   Date    Atty   Description                                                            Hours    Rate       Amount
 8/09/18   PK     Prepare 32 deposits for HUCT;                                            .30   270.00           81.00
 8/09/18   PK     Review debtors' mail forwarded to trustee's office by J. Amster;         .30   270.00           81.00
                  Exchange e-mails with J. Amster and C. Djang re: subpoena and
                  insurance documents;
 8/09/18   PL     admin - process 774 checks for deposit. coordinate with bank.           2.00   175.00          350.00
                  organize, separate into smaller groups and supervise scanning. print
                  check copies, print deposit slips, match and verify. prepare for
                  FedEx (Laurie)
 8/09/18   PL     admin - process 774 checks for deposit. coordinate with bank.            .50   175.00           87.50
                  organize, separate into smaller groups and supervise scanning. print
                  check copies, print deposit slips, match and verify. prepare for
                  FedEx (Awf)
 8/10/18   PK     Review and save Pacific Enterprise bank statements;                      .10   270.00           27.00
 8/10/18   PK     Prepare deposit report for HUCT;                                         .10   270.00           27.00
 8/10/18   PL     admin - process 774 checks for deposit. coordinate with bank.           1.50   175.00          262.50
                  organize, separate into smaller groups and supervise scanning. print
                  check copies, print deposit slips, match and verify. prepare for
                  FedEx (Laurie)
 8/10/18   PL     admin - process 774 checks for deposit. coordinate with bank.            .50   175.00           87.50
                  organize, separate into smaller groups and supervise scanning. print
                  check copies, print deposit slips, match and verify. prepare for
                  FedEx (Awf)
 8/20/18   PK     Review and save attorney invoice;                                        .10   270.00           27.00
 8/20/18   PK     Telephone call with L. McPherson to review returned items - stale        .30   270.00           81.00
                  dated checks;
 8/29/18   PK     Review and analysis of multiple e-mails re: missing deposits;            .40   270.00          108.00
                  Telephone call with L. McPherson;
 8/30/18   RAM    Multiple telephone conference with Caroline Djang and secured            .60   630.00          378.00
                  creditor;
 8/30/18   PK     Exchange e-mails re: returned items; Prepare lists of returned items     .70   270.00          189.00
                  for each case and forward to J. Amster;
 9/13/18   PK     Exchange e-mails with D. Brody and J. Amster re: funds on hand;          .50   270.00          135.00
                  Calendar reminder for turnover of funds in Opus and Pacific banks;
 9/18/18   PK     Telephone call with L. McPherson re: stale dated deposits;               .10   270.00           27.00
 9/18/18   PK     Review and save attorney invoice;                                        .10   270.00           27.00
 9/19/18   PK     Update cases;                                                            .10   270.00           27.00
 9/24/18   PK     Prepare deposits; E-mail to C. Djang re: funds in H-Orange;              .40   270.00          108.00


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   Date    Atty   Description                                                               Hours    Rate       Amount
 9/25/18   PK     Review invoice; Draft cash disbursement motion; Forward to C.               .40   270.00          108.00
                  Djang;
 9/26/18   PK     Exchange e-mail with C. Djang re: turnover of funds for HUC                 .10   270.00           27.00
                  Orange; E-mail to E. Green;
 9/26/18   PK     Telephone call with Trustee;                                                .10   270.00           27.00
 9/28/18   PK     Update mail service database with 30 largest creditors; Prepare ECF        1.40   270.00          378.00
                  service list and annotate party information; Update mail service
                  database with attorney and ECF information;
 9/28/18   PK     (Orange) Exchange e-mail with C. Djang re: possible assets; Draft,          .40   270.00          108.00
                  serve and file withdrawal of NDR;
10/03/18   PK     Forward bank balance information to D. Brody;                               .10   270.00           27.00
10/11/18   PK     Prepare disbursement;                                                       .30   270.00           81.00
10/11/18   PK     Re-file NDR in Orange case;                                                 .10   270.00           27.00
10/12/18   PK     Review and save attorney invoice;                                           .10   270.00           27.00
10/15/18   PK     Exchange e-mail with J. Amster; Input professional claim; Prepare           .50   270.00          135.00
                  disbursement;
10/16/18   PK     Draft and file declaration of non-opposition and order granting cash        .60   270.00          162.00
                  disbursement motion;
10/20/18   PK     Review ombudsman's reports;                                                 .20   270.00           54.00
10/25/18   PK     Review order; Input claim; Prepare disbursement;                            .40   270.00          108.00
11/01/18   RAM    Review and execute checks;                                                  .20   630.00          126.00
11/01/18   PK     Prepare reconciliation of cases to calculate total carve-out per order;    1.20   270.00          324.00
                  Prepare three funds transfers; Input receiver claims; Prepare three
                  disbursements; Exchange e-mail with C. Djang and receiver;
11/01/18   PK     Exchange e-mail with J. Amster re: turnover to receiver;                    .10   270.00           27.00
11/01/18   PK     Exchange e-mail re: records retention;                                      .10   270.00           27.00
11/05/18   RAM    Review and execute reports                                                  .30   630.00          189.00
11/05/18   PK     Review and save tax notice;                                                 .10   270.00           27.00
11/05/18   PK     Exchange e-mail with J. Amster; Review invoice; Prepare                     .40   270.00          108.00
                  disbursement;
11/13/18   PK     Telephone call with Trustee; Exchange e-mail with counsel re: case          .20   270.00           54.00
                  status update;
11/15/18   PK     Review and save attorney invoice;                                           .10   270.00           27.00
11/19/18   PK     Review incoming mail; Prepare responses to OC Tax and IRS;                  .50   270.00          135.00

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   Date    Atty   Description                                                               Hours    Rate       Amount
12/03/18   PK     Review OC Tax lien notices and prepare response;                            .30   270.00           81.00
12/03/18   PK     Review and save debtor mail; Forward notice to J. Amster;                   .30   270.00           81.00
12/06/18   PK     Review and save attorney invoice;                                           .10   270.00           27.00
12/18/18   PK     Telephone call with J. Amster;                                              .10   270.00           27.00
12/20/18   PK     Review case and update status;                                              .10   270.00           27.00
12/31/18   PK     Review and save state court document;                                       .10   270.00           27.00
 1/07/19   PK     Review and save FTB notice;                                                 .10   270.00           27.00
 1/26/19   PK     Review ombudsman's report;                                                  .10   270.00           27.00
 1/31/19   PK     Calculate bond payment;                                                     .10   270.00           27.00
 2/01/19   PK     Prepare bond disbursement;                                                  .10   270.00           27.00
 2/04/19   RAM    Rev and execute check and instructions to staff                             .20   630.00          126.00
 2/04/19   PK     Stop pay and reissue check; E-mail to J. Amster;                            .40   270.00          108.00
 2/22/19   PK     Review settlement motion and emails re: personal property sale;            1.00   270.00          270.00
                  Prepare deposits in each case; Update assets in all cases; E-mail to C.
                  Djang;
 2/27/19   PK     Review FTB notices and forward to K. Boffill; Exchange e-mail               .20   270.00           54.00
                  with K. Boffill;
 2/28/19   PK     Review schedules and SFA for three debtors and exchange e-mail              .30   270.00           81.00
                  with C. Djang re: employing accountant;
 2/28/19   PK     Exchange e-mail with C. Djang;                                              .10   270.00           27.00
 3/05/19   PK     Telephone call with Trustee; Telephone call with D. Fife; Prepare           .70   270.00          189.00
                  summary and e-mail to D. Fife with all case documents;
 3/05/19   PK     Review docket for HUC Orange and exchange e-mail with C. Djang;             .10   270.00           27.00
                                                                                                                             10
 3/11/19   RAM    Rev corr re Hoag litigation and telephone conference with C Djang           .60   630.00          378.00
 3/15/19   RAM    Case review with P. Kraus;                                                  .10   630.00           63.00
 3/15/19   PK     Case update with Trustee;                                                   .10   270.00           27.00
 3/25/19   PK     Review IRS notices and forward to D. Fife;                                  .10   270.00           27.00
 3/28/19   PK     Review stipulation to approve agreement with custodian of records;          .10   270.00           27.00
 3/29/19   PK     E-mail to counsel for status report;                                        .10   270.00           27.00
 4/01/19   PK     Review case schedules for three cases and update assets;                    .40   270.00          108.00
 4/02/19   PK     Review Orange case docket and emails; E-mail to H. Corona;                  .20   270.00           54.00



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   Date    Atty   Description                                                           Hours    Rate       Amount
 4/02/19   PK     Review UTC analysis report and update deposit UTC codes;                .30   270.00           81.00
 4/02/19   PK     Update case for annual reports;                                         .10   270.00           27.00
 4/19/19   PK     Review status report, case documents and bank ledgers; Update 3         .60   270.00          162.00
                  cases for annual reports;
 4/20/19   PK     Review order approving stipulation re: records; E-mail to C. Djang;     .20   270.00           54.00
 4/23/19   RAM    Telephone conference with c Djang                                       .40   650.00          260.00 10
 4/23/19   PK     Review e-mail from A. McDow; Locate her address; Input claims in        .60   270.00          162.00
                  3 cases for custodian of record fees; Prepare 3 disbursements;
 4/27/19   PK     Prepare Annual Report;                                                  .10   270.00           27.00
 5/08/19   PK     Prepare judge copies;                                                   .10   270.00           27.00
 5/16/19   PK     Review and save attorney invoices;                                      .30   270.00           81.00
 6/14/19   PK     Review and save attorney invoice;                                       .10   270.00           27.00
                                                                                                                         10
 6/16/19   RAM    Prepare for deposition                                                 1.80   650.00      1,170.00
                                                                                                                         10
 6/17/19   RAM    Travel to and then meet with counsel to prepare for deposition and     4.60   650.00      2,990.00
                  attend deposition (of me) and travel to office.
 6/24/19   PK     Review and save mail;                                                   .10   270.00           27.00
 7/16/19   PK     Review and save attorney invoice;                                       .10   270.00           27.00
 8/02/19   PK     Review and save FTB notice;                                             .10   270.00           27.00
 8/15/19   PK     Update case;                                                            .10   270.00           27.00
 8/19/19   PK     Exchange email with L. McPherson re: Hoag-Orange $5 check               .10   270.00           27.00
                  closing account;
 9/13/19   PK     Review and save attorney invoice;                                       .10   270.00           27.00
 9/13/19   PK     Exchange email with J. Amster and C. Djang re: subpoena for             .20   270.00           54.00
                  records;
10/10/19   PK     Download, save and forward FTB notices;                                 .10   270.00           27.00
10/30/19   RAM    Telephone conference with Tiffany P re pending lit                      .30   650.00          195.00 10
11/08/19   PK     Review and save FTB notice;                                             .10   270.00           27.00
 1/13/20   PK     Review and save mail;                                                   .10   270.00           27.00
 1/22/20   PK     Review case and run preliminary annual report summary;                  .10   270.00           27.00
 1/28/20   PK     Case status with Trustee;                                               .10   270.00           27.00
 1/28/20   PK     Telephone call with Trustee; Exchange email with C. Djang;              .20   270.00           54.00



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   Date    Atty   Description                                                         Hours    Rate       Amount
 1/29/20   PK     Review and save mail;                                                 .10   270.00           27.00
 1/30/20   PK     Review emails re: status;                                             .10   270.00           27.00
 2/05/20   PK     Exchange emails with C. Djang re: settlement checks; Download and     .70   270.00          189.00
                  review check copies; Download and review settlement motion; Input
                  assets in to 3 cases; Input deposits in 3 cases;
 2/12/20   PK     Review case;                                                          .10   270.00           27.00
 2/14/20   PK     Exchange email with C. Djang; Review preference complaints;          1.00   270.00          270.00
                  Prepare two deposits; Prepare 3 disbursements;
 2/28/20   PK     Review audit report and case notes;                                   .10   270.00           27.00
 4/20/20   PK     Review status report and update case;                                 .20   270.00           54.00
 4/28/20   PK     Review status report and update case;                                 .10   270.00           27.00
 4/29/20   PK     Case update with Trustee;                                             .10   270.00           27.00
 8/11/20   PK     Review and save mail;                                                 .10   270.00            N/C
 9/07/20   PK     Email to counsel for case update;                                     .10   270.00            N/C
11/17/20   PK     Review and save mail;                                                 .10   270.00            N/C
12/08/20   PK     Status call with Trustee; Email to counsel;                           .10   270.00            N/C
12/30/20   PK     Review update from counsel; Review claim lists; Exchange E-mail       .50   270.00            N/C
                  with C. Djang; Calendar meeting;
 1/02/21   PK     3 cases: Update assets, prepare Forms 1-2, review case documents      .60   270.00            N/C
                  and forward to D. Fife for tax returns;
 1/20/21   PK     Review and save mail;                                                 .10   270.00            N/C
 1/21/21   PK     Update bond payment report; Prepare disbursement;                     .10   270.00            N/C
 2/10/21   PK     Status update with Trustee; Email to C. Djang;                        .20   270.00            N/C
 2/22/21   PK     Telephone call with Trustee;                                          .10   270.00            N/C
 2/24/21   PK     Telephone call with FTB;                                              .20   270.00            N/C
 3/24/21   PK     Download and review 1019 reports, compare one to original matrix,     .40   270.00            N/C
                  telephone call with H. Corona;
 3/26/21   PK     Telephone call with C. Djang re: case status, insolvency, 1019        .50   270.00            N/C
                  reports; Prepare summary and to-do list;
 3/26/21   PK     Draft, file and serve 21-day notice;                                  .40   270.00            N/C
 4/22/21   PK     Update case notes in 3 cases;                                         .20   270.00            N/C
 4/28/21   PK     Prepare annual report;                                                .10   270.00            N/C


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   Date     Atty    Description                                                           Hours      Rate      Amount
 5/07/21    PK      Telephone call with Trustee re: proposed distribution; Email to C.      .30   270.00             N/C
                    Djang to request insolvency summary;
 5/30/21    PK      Download, annotate and save claim dockets;                              .50   270.00             N/C
                    Sub-Total Fees:                                                       78.20              $ 26,604.00




5 Claims Administration and Objections


   Date     Atty    Description                                                             Hours      Rate    Amount
 6/28/18    RAM     Meeting with Jeff Golden re: claims;                                       .30   630.00        189.00
 8/01/18    PK      Telephone call with creditor Yusi Ho; E-mail to C. Djang;                  .30   270.00         81.00
10/22/18    PK      Review FTB admin claims;                                                   .10   270.00         27.00
 1/27/20    PK      Update claims in three cases;                                              .20   270.00         54.00
 2/14/20    PK      Hoag Tustin - review case audit report; Update claims;                     .20   270.00         54.00
 2/14/20    PK      Hoag Huntington - review case audit report; Update claims;                 .20   270.00         54.00
 2/14/20    PK      Hoag Anaheim - review case audit report; Update claims;                    .20   270.00         54.00
 1/08/21    PK      Telephone call with C. Djang and L. Verstegen re: case closing, fee        .60   270.00          N/C
                    apps and claims;
 1/11/21    PK      Access, review and forward proofs of claim for 3 cases to C. Djang;       1.00   270.00          N/C
 3/22/21    PK      Email with debtor's counsel re: 1019 report;                               .10   270.00          N/C
 3/23/21    PK      Emails with S. Moses re: 1019 reports;                                     .10   270.00          N/C
 5/24/21    PK      Download, review and save FTB claims for three cases;                      .30   270.00          N/C
                    Sub-Total Fees:                                                           3.60             $ 513.00




7 Fee/Employment Applications


  Date     Atty    Description                                                              Hours      Rate    Amount
7/19/18    RAM     Review and execute application to employ;                                   .30   630.00        189.00
7/20/18    PK      Review applications to employ counsel;                                      .20   270.00         54.00


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  Date     Atty   Description                                                                Hours    Rate    Amount
8/30/18    PK     Review application to employ special counsel; Forward signature page;        .10   270.00     27.00
3/25/19    PK     Review and revise application to employ accountant; Forward to D. Fife;      .30   270.00     81.00
4/19/19    PK     Revise Trustee's application to employ accountant; Draft notice; Update      .60   270.00    162.00
                  mail service database; Prepare proofs of service;
5/07/19    PK     Draft declaration of non-opposition and order granting application to        .50   270.00    135.00
                  employ accountant;
5/10/19    PK     Review and save employment order; Forward to D. Fife;                        .10   270.00     27.00
4/02/21    PK     Emails with T. Payne;                                                        .10   270.00       N/C
4/23/21    PK     Emails with D. Fife and C. Djang;                                            .20   270.00       N/C
4/24/21    PK     Draft trustee's declaration;                                                 .20   270.00       N/C
5/11/21    PK     Email with C. Djang; Revise trustee's declaration in support of BBK fee     1.00   270.00       N/C
                  application; Draft trustee's declaration re: HF fee application; Prepare
                  proofs of service, serve and file in 3 cases;
                  Sub-Total Fees:                                                             3.60            $ 675.00




                                          TOTAL FEES                                                     $ 44,077.00




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FEE RECAP BY TASK CODE

Task       Description                                                  Hours               Amount
1          Asset Analysis and Recovery                                   17.00              5,752.00
10         Litigation                                                    18.10              8,031.00
11         Meetings of Creditors                                           .90                567.00
2          Asset Disposition                                              3.00                882.00
3          Business Operations                                            3.90              1,053.00
4          Case Administration                                           78.20             26,604.00
5          Claims Administration and Objections                           3.60                513.00
7          Fee/Employment Applications                                    3.60                675.00
           Sub-Total of Fees:                                           128.30           $ 44,077.00




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FEE RECAP BY ATTORNEY

Name                          Atty     Staff Level         Hours      Rate                  Total
Richard A. Marshack           RAM      Partner               7.40    650.00              4,810.00
Richard A. Marshack           RAM      Partner              17.70    630.00             11,151.00
D. Edward Hays                DEH      Partner               2.50    630.00              1,575.00
David A. Wood                 DAW      Partner              20.80    410.00              8,528.00
Pamela Kraus                  PK       Paralegal            56.80    270.00             15,336.00
Legal, Para                   PL       Paralegal            12.80    175.00              2,240.00
Chanel Mendoza                CM       Paralegal             1.90    230.00                437.00
Total                                                      119.90                     $ 44,077.00




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FEE RECAP BY MONTH

Richard A. Marshack
                                06/2018                                      2.50             1,575.00
                                07/2018                                      9.40             5,922.00
                                08/2018                                      3.80             2,394.00
                                09/2018                                       .60               378.00
                                11/2018                                       .50               315.00
                                02/2019                                       .20               126.00
                                03/2019                                       .70               441.00
                                04/2019                                       .70               455.00
                                06/2019                                      6.40             4,160.00
                                10/2019                                       .30               195.00
                                Subtotal for Richard A. Marshack            25.10          $ 15,961.00

D. Edward Hays
                              06/2018                                       1.70              1,071.00
                              07/2018                                        .80                504.00
                              Subtotal for D. Edward Hays                   2.50            $ 1,575.00

David A. Wood
                             06/2018                                       3.00               1,230.00
                             07/2018                                      15.00               6,150.00
                             08/2018                                       1.50                 615.00
                             09/2018                                       1.00                 410.00
                             10/2018                                        .30                 123.00
                             Subtotal for David A. Wood                   20.80             $ 8,528.00




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                                             MARSHACK HAYS LLP
Trustee - Richard Marshack                                                        September 20, 2021
Client-Matter# 5000-418                                                              Invoice # 12437

Pamela Kraus
                             06/2018                                      2.80                 756.00
                             07/2018                                      9.70               2,619.00
                             08/2018                                     15.90               4,293.00
                             09/2018                                      4.80               1,296.00
                             10/2018                                      5.70               1,539.00
                             11/2018                                      2.80                 756.00
                             12/2018                                      1.00                 270.00
                             01/2019                                       .50                 135.00
                             02/2019                                      2.10                 567.00
                             03/2019                                      1.60                 432.00
                             04/2019                                      3.50                 945.00
                             05/2019                                      1.00                 270.00
                             06/2019                                       .20                  54.00
                             07/2019                                       .10                  27.00
                             08/2019                                       .30                  81.00
                             09/2019                                       .30                  81.00
                             10/2019                                       .10                  27.00
                             11/2019                                       .30                  81.00
                             12/2019                                       .30                  81.00
                             01/2020                                       .90                 243.00
                             02/2020                                      2.50                 675.00
                             04/2020                                       .40                 108.00
                             Subtotal for Pamela Kraus                   56.80            $ 15,336.00

Legal, Para
                        08/2018                                          12.80               2,240.00
                        Subtotal for Legal, Para                         12.80             $ 2,240.00

Chanel Mendoza
                                07/2018                                          1.90         437.00
                                Subtotal for Chanel Mendoza                      1.90       $ 437.00




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Trustee - Richard Marshack                                                                          September 20, 2021
Client-Matter# 5000-418                                                                                Invoice # 12437

DISBURSEMENTS

E101 Copying

      Date   Description                                                                                      Amount
   7/06/18   Document Copies re: stipulation extending time to file designation of record (judge's              1.80
             copy)
   7/06/18   Document Copies re: stipulation extending time to file designation of record                          1.60
   7/06/18   Electronic copying re: order approving stipulation extending time to file designation of               .30
             record
   8/10/18   Document Copies re: HHS Agency notice response                                                          .80
   8/10/18   Document Copies re: order granting motion to approve joint administration of cases and                  .40
             tax notice response
  8/10/18    Document Copies re: Quest Diagnostics statement response                                               .60
  9/27/18    Document Copies re: notice and motion for approval of cash disbursements                             18.60
 10/18/18    Document Copies re: declaration that no party requested a hearing on motion (judge's                  5.60
             copies)
 11/19/18    Document Copies re: notice of intent to enforce collection                                            1.80
 11/19/18    Document Copies re: response to IRS                                                                   1.40
 12/03/18    Document Copies re: response to OC tax lien notice                                                    2.40
  4/19/19    Document Copies re: notice and application for order authorizing employment of Hahn                  21.00
             Fife & Company as accountant
   5/08/19   Document Copies re: declaration that no party requested a hearing on motion (judge's                  6.80
             copies)
   5/08/19   Document Copies re: declaration that no party requested a hearing on motion (judge's                  2.60
             copies)
   3/26/21   Document Copies re: professional notice Hoag cases tustin                                             1.20
   5/11/21   Document Copies re: fee application declaration of trustee Hahn Fife & Co, LLP, fee                   2.40
             application declaration of trustee Best, Best & Krieger LLP.
             Sub-Total of Disbursements                                                                          $ 69.30


E107 Delivery Services/Messenger

     Date    Description                                                                                      Amount
  7/15/18    File stipulation extending time to file at USBC/SA on 07/06/18 inc.                                7.50
 10/31/18    File declaration no party requested a hearing on motion at USBC/SA on 10/18/18 legal,              7.50
             inc.
             Sub-Total of Disbursements                                                                          $ 15.00




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                                                 MARSHACK HAYS LLP
Trustee - Richard Marshack                                                                          September 20, 2021
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E108 Postage

      Date   Description                                                                                      Amount
   7/06/18   Postage re: stipulation extending time to file designation of record                                .94
   8/10/18   Postage re: check to Jennifer Amster                                                                .47
   8/10/18   Postage re: HHS Agency notice response                                                              .47
   8/10/18   Postage re: order granting motion to approve joint administration of cases and tax notice           .47
             response
  8/10/18    Postage re: Quest Diagnostics statement response                                                       .47
  9/27/18    Postage re: notice and motion for approval of cash disbursements                                     14.57
  9/28/18    Postage re: notice of withdrawal of Trustee's report of no distribution                                .47
 11/01/18    Postage re: trustee check to Jennifer Amster                                                           .47
 11/07/18    Postage re: trustee pro se letters                                                                    2.82
 11/19/18    Postage re: notice of intent to enforce collection                                                     .47
 11/19/18    Postage re: response to IRS                                                                            .47
 12/03/18    Postage re: response to OC tax lien notice                                                             .47
  1/23/19    Postage re: tax forms                                                                                  .47
  2/04/19    Postage re: trustee check to Jennifer Amster                                                           .50
  4/19/19    Postage re: notice and application for order authorizing employment of Hahn Fife &                   15.50
             Company as accountant
   4/24/19   Postage re: trustee check to Laguna-Dana Urgent Care                                                   .50
   3/26/21   Postage re: professional notice Hoag cases tustin                                                     1.53
   5/11/21   Postage re: fee application declaration of trustee Hahn Fife & Co, LLP, fee application               1.53
             declaration of trustee Best, Best & Krieger LLP.
             Sub-Total of Disbursements                                                                          $ 42.59


                                        CURRENT DISBURSEMENTS                                                 $ 126.89

                                         Plus EXPENSES TO copy and mail Notices                               665.51
                                         to all creditors

                                         Total Expenses                                                      $792.40




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                                             MARSHACK HAYS LLP
Trustee - Richard Marshack                                                     September 20, 2021
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DISBURSEMENT RECAP BY TASK CODE

Task            Description                                                              Amount
E101            Copying                                                                     69.30
E107            Delivery Services/Messenger                                                 15.00
E108            Postage                                                                     42.59
                Sub-Total of Disbursements                                               $ 126.89
                Plus Expense to Copy and Mail Notice to Creditors                        $ 665.51

                TOTAL EXPENSES                                                           $ 792.40




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
18101 Von Karman Ave., Suite 1000, Irvine CA 92612

A true and correct copy of the foregoing document entitled (specify): MOTION FOR ORDER: (1) AUTHORIZING
DISMISSAL OF THE BANKRUPTCY CASE PURSUANT TO 11 U.S.C. §§ 305 AND 707; (2) DISCHARGING AND
RELIEVING THE TRUSTEE’S EMPLOYED PROFESSIONALS FROM FURTHER DUTIES AND OBLIGATIONS; (3)
APPROVAL OF PROFESSIONAL FEES AND EXPENSES; AND (4) EXONERATING THE TRUSTEE’S BOND
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/25/2021          , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/25/21            , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Hon. Theodor C. Albert
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085 / Courtroom 5B
Santa Ana, CA 92701-4593

                                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/25/21            , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/25/21                     Laurie Verstegen                                                      /s/Laurie Verstegen
 Date                        Printed Name                                                           Signature




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 June 2012                                                                                                F 9013-3.1.PROOF.SERVICE
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ELECTRONIC MAIL NOTICE LIST 8:17-bk-13077-TA

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           docket@buchalter.com;spacheco@buchalter.com

          Tiffany Payne Geyer tpaynegeyer@bakerlaw.com,
           smccoy@bakerlaw.com;orlbankruptcy@bakerlaw.com

          Brett Ramsaur           brett@ramsaurlaw.com, stacey@ramsaurlaw.com

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 June 2012                                                                              F 9013-3.1.PROOF.SERVICE
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          Faye C Rasch frasch@wgllp.com,
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          Cathy Ta         cathyta@cathyta.net

          Tamar Terzian           tterzian@bg.law, ecf@bg.law

          United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov

          David Wood dwood@marshackhays.com,
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ELECTRONIC MAIL NOTICE LIST 8:17-bk-13078-TA

          David W Brody            dbrody@brody-law.com, bknotice@brody-law.com

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          Cathy Ta         cathyta@cathyta.net

          United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov

ELECTRONIC MAIL NOTICE LIST 8:17-bk-13080-TA

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 June 2012                                                                              F 9013-3.1.PROOF.SERVICE
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               IFS_efiling@buchalter.com;salarcon@buchalter.com

              Cathy Ta         cathyta@cathyta.net

              United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov



SERVED BY UNITED STATES MAIL

 RTD 9/26/18                                                                    DEBTOR
 DEBTOR                                                                         HOAG URGENT CARE - ANAHEIM HILLS
 HOAG URGENT CARE ORANGE, INC.                                                  5630 E. SANTA ANA CANYON RD.
 7630B. E. CHAPMAN AVE.                                                         ANAHEIM, CA 92807-3122
 ORANGE, CA 92869-8536

 DEBTOR                                                                         DEBTOR
 HOAG URGENT CARE-TUSTIN, INC.                                                  HOAG URGENT CARE-HUNTINGTON HARBOR
 PO BOX 8979                                                                    5355 WARNER AVE. #102
 NEWPORT BEACH, CA 92658-0979                                                   HUNTINGTON BEACH, CA 92649-6030




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     June 2012                                                                              F 9013-3.1.PROOF.SERVICE
